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        EXHIBIT
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Patrick Murphy

From:                              Michael Murphy <murf@bcbv.net>
Sent                               Wednesday, October 2, 2024 9:51 PM
To:                                Erick Rengifo; Jiaming Li; pcolbath@loeb.com
Cc:                                Patrick Murphy; emory@bcbv.net
Subject:                           working Draft Settlement Agreement
Attachments:                       mineone bcb settlement agreement draft.docx


Hello Erick, Jiaming, and Paula,

Please see the attached “working” DRAFT Settlement Agreement. This is not complete, but it does contain (1) most of
what Erick, Jiaming, Emory and I spoke about earlier today (in Section 2) and (2) the language from the BCB-Bitmain
Settlement Agreement updated to account for the relevant parties now working towards settlement. Rather than take
additional time to provide a completed draft, we wanted to get this to you now (albeit incomplete) so you could start
reviewing it (and so you can see the good faith effort we are making to move quickly on this).

Erick/Jiaming let’s meet at your earliest convenience on Thursday to continue working through the details in Section 2
               -


on the commercial terms. Emory and I have some questions for you. There are also some highlighted parts we still need
to fill in. And we also want to discuss a few ideas Emory and I have regarding the calculation of the Target Return (which
should help address some of our risk concerns in return for providing a guarantee of the $1,160,976 to you).

regards,
Michael




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Patrick Murphy

From:                                           Paula Colbath <pcolbath@loeb.com>
Sent:                                           Wednesday, October 2, 2024 4:55 PM
To:                                             Patrick Murphy
Cc:                                             Marc Gottlieb; murf@bcbv.net; Masterson; MineOne-BCB; Stephen Cohen
Subject:                                        RE: Form W9 and Form AC 213


Thanks for the update. I will be monitoring my emails.

Just as an FYI I may need input on the Settlement Agreement from one of my corporate partners (I’m not sure how
                       —


technical Michael’s draft will be). As you know, this is Stephen Cohen’s client. Stephen is out of the office for the Jewish
Holidays and will be offline until Saturday night. I can try to enlist another partner if necessary, depending on the
complexity. I did want to give you a heads up on that.

From: Patrick Murphy <pmurphy@wpdn.net>
Sent: Wednesday, October 2, 2024 6:49 PM
To: Paula Colbath <pcolbath@loeb.com>
Cc: Marc Gottlieb <msg@orllp.legal>; murf@bcbv.net; Masterson <masterson@wpdn.net>; MineOne BCB <MineOne
BCB@loeb.com>; Stephen Cohen <scohen@loeb.com>
Subject: RE: Form W9 and Form AC 213




Paula:

 I haven’t yet sent you Michael Murphy’s draft Settlement Agreement. I just emailed you saying that Michael
just boarded a plane and is flying to Denver. He lands at’near 6:00 pm Mountain. And he needs another hour,
once he is on the ground, to finish up his work on it. And I think Michael would like to visit with Erick/Jiaming
maybe one more time on some details. Anyway, I hope to email it to you at 7:00 pm Mountain this
evening. That’s the plan.

Later tonight, at home, I will start writing a proposed Stipulated Motion                 and corresponding Order     to
Distribute the Attached Funds.

Thank you.

Pat




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‘I! I L~I’. N~KT) K. I~VI ~NI’1LI I. rt
                                          Attorney at Law
                                          PatriCki. Murphy
                                          Office: 307-265-0700
                                          pmurnhy@wpdn.net
                                          159 N. Wolcott St. Suite 400(82601)
           WPDN.NET                       P~O~ Box 10700
                                          Casper, WY 82602
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to onother party any matters addressed herein, IRS Circular 230.




From: Paula Colbath <pcolbath@loeb.com>
Sent: Wednesday, October 2, 2024 4:32 PM
To: Patrick Murphy <pmurphy@wpdn.net>
Cc: Marc Gottlieb <msg@orllp.Iegal>; murf bcbv.net; Masterson <masterson@wpdn.net>; MineOne-BCB <MineOne
BCB@ oe .com>; Stephen Cohen <scohen@loeb.com>
Subject: RE: Form W9 and Form AO-213

I will review them with the client and we will have them ready to go. Please send me your proposed Stipulated
Motion. I’m currently working through an email backlog. Did you forward a draft settlement agreement?

Paula




Paula Colbath
Partner
   •LOEB&
     LOEB~
345 Park Avenue I New York, NY 10154
Direct Dial: 212.407.4905 Fax: 212.407.4990                  E-mail:     colbath    loeb.com
Los Angeles        New York        Chicago      Nashville      Washington, DC I San Francisco I Beijing                Hong Kong          nww bob corn




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Loeb LLP


From: Patrick Murphy <pmurphy@wpdn.net>
Sent: Wednesday, October 2, 2024 5:35 PM
To: Paula Colbath < colbath loeb.com>
Cc: Marc Gottlieb <msg@orllD.legal>; murf@bcbv.ne ; Masterson <masterson(ThwDdn.net>; MineOne-BCB <MineOne
BCB@loeb.com>; Stephen Cohen <scohen@’loeb com>
Subject: FW: Form W9 and Form AO-213




Paula:
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To help facilitate our clients’ proposed settlement, the Clerk of the District Court sent me these two forms
today.

These two forms need to be completed by our clients and returned to the Clerk                                                         before the Clerk can
electronically transfer the attached funds to our clients.

The Clerk told me she thought it would take anywhere from 3-7 days, following Judge Johnson’s filing of His
Honor’s Order Distributing Attached Funds, for the Clerk to then wire the monies to MineOne’s account and
BCB’s account.

My hope is that you and I can file a Stipulated Motion to Distribute the Attached Funds by this Friday, October
4, and that Judge Johnson could receive, review, sign and file the Order Distributing Attached Funds sometime
Friday afternoon, October 4.

If we can do that, it will give us a good chance to have the Clerk wire the monies to our clients’ accounts by the
following Friday, October Il, and maybe before that.

Michael Murphy is on an airplane now but landing soon. It is still Michael and my intent and plan to provide
you with a good (but not perfect) working draft of the Settlement Agreement by 5:00 pm Mountain today.

Please call me when you have a moment, Paula.

Pat Murphy
(307) 262-2872 (cell)

         ~                                Patricki. Murphy
                                          Attorney at Law
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all’ LAM’. 101(7 IR. lU~ & NI ~II 2) N
                                          Office: 307-265-0700
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                                          Casper, WY 82602


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to another party any matters addressed herein IRS Circular 230.




From: Katie Grant <Katie Grant~wyd.uscourts.gov>
Sent: Wednesday, October 2, 2024 10:26 AM
To: Patrick Murphy <pmurphy@wpdn.net>
Subject: Form W9 and Form AO-213

Good morning, Mr. Murphy,

Attached please find a W9 form in order to disburse funds (with an order of the court). Also attached is an AO-213 form
in order to disburse payment via EFT (electronic funds transfer).

                                                                                          3
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Again, once we have a signed order, we will first initiate a $5 test payment to ensure no issues with the banking
information, etc., and then will disburse the remaining funds upon confirmation of receipt of the test payment.

Please have any completed forms returned to me. Let me know if you have any questions.

Thank you,

Katie Grant
Financial Administrator
U.S. District Court District of Wyoming
                  —


2120 Capitol Avenue, Rm 2131
Cheyenne, WY 82001
(307)433 2133




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